Case 1:16-cv-00375-AJT-JFA Document 229 Filed 08/01/18 Page 1 of 10 PageID# 7743



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF VIRGINIA
                                    ALEXANDRIA DIVISION

 ANAS ELHADY, et al.,                                     )
                                                          )       Case No. 16-cv-00375
         Plaintiffs,                                      )       Hon. Anthony J. Trenga
                                                          )       Mag. John F. Anderson
                                                          )
 v.                                                       )
                                                          )
 CHARLES H. KABLE, Director of the                        )
 Terrorist Screening Center; in his official              )
 capacity, et al.;                                        )
                                                          )
         Defendants.                                      )
 _______________________________________________________________________________________________________

                         MEMORANDUM IN SUPPORT OF PLAINTIFFS’
                               FOURTH MOTION TO COMPEL
                     RE: “QUIET SKIES” DOCUMENTS AND INFORMATION




                                                     i
Case 1:16-cv-00375-AJT-JFA Document 229 Filed 08/01/18 Page 2 of 10 PageID# 7744



                                    INDEX OF EXHIBITS


   Exhibit                           Description                                Date
     A       Jana Winter, “Welcome to the Quiet Skies,” Boston Globe,     July 28, 2018
             available at http://apps.bostonglobe.com/news/
             nation/graphics/2018/07/tsa-quiet-skies/
             ?p1=HP_SpecialTSA
     B       TSA’s Quiet Skies Program, Federal Air Marshal Service       March 13, 2018
             Information Bullet – Quiet Skies Selectees
     C       Quiet Skies Surveillance Checklist                           unknown
     D       Excerpts of 30(b)(6) TSA Deposition                          March 20, 2018
     E       Excerpts of Deposition of Plaintiff El-Shwedhi               Nov. 29, 2017
     F       Excerpts of Deposition of Plaintiff Mark Amri                March 8, 2018
     G       Excerpts of TSC Responses to Second Set of RFPs No. 4.       Dec. 22, 2017
     H       Defendants’ Responses to Third Set of RFPs No. 1.            Jan. 4, 2018
     I       Excerpts of TSC Responses to First Set of Interrogatories    Feb. 21, 2018
             No. 23.
      J      Excerpts of TSC Responses to Second Set of Interrogatories   Feb. 23, 2018
             No. 1.




                                             ii
Case 1:16-cv-00375-AJT-JFA Document 229 Filed 08/01/18 Page 3 of 10 PageID# 7745




                                          ARGUMENT

        The federal government continues to hide watchlist secrets from Plaintiffs. Last

 weekend, on July 28, 2018, the Boston Globe revealed a shadowy TSA surveillance program

 known as “Quiet Skies.” See MTC4, Ex. A (Boston Globe article). According to a leaked TSA

 document published by the Boston Globe, the Quiet Skies program works to identify

 “unknown or partially known terrorists” and subject them to “enhanced screenings.” See

 MTC4, Ex. B (“TSA’s Quiet Skies Program”). These monitored individuals are known as

 “Quiet Skies Selectees” and are chosen based on “risk-based passenger targeting rules.” See

 id. Rules include analysis of their international travel and associations with others listed in

 the Terrorist Screening Database. See id. They are subjected to the same screening

 procedures as TSDB Selectees. See id. They are also subjected to near-constant travel

 monitoring by Federal Air Marshals, who possess a checklist regarding each person’s

 luggage, conversations, electronics usage, bathroom visits, sleeping habits, physical

 behaviors, and more. See MTC4, Ex. C (monitoring checklist as published by the Boston

 Globe). These Federal Air Marshals document any “significant derogatory information”

 gleaned about the Quiet Skies Selectees, and share that information with other intelligence

 agencies. See MTC4, Ex. B. No exaggeration is needed: Quiet Skies is a huge, previously-

 unknown component of the watchlisting system the Plaintiffs challenge.

        Throughout discovery, Plaintiffs have sought to determine, at the very least, the

 broad outlines of the watchlisting system. And yet, throughout discovery, Defendants have

 kept TSA’s Quiet Skies program hidden. Even though all indicators show that Quiet Skies is

 responsible for engulfing thousands of innocent Americans within the watchlisting system,



                                                1
Case 1:16-cv-00375-AJT-JFA Document 229 Filed 08/01/18 Page 4 of 10 PageID# 7746



 the program appears in no document produced to Plaintiffs nor in any answers to

 Plaintiffs’ discovery questions. It was conveniently left out and not referenced; deposition

 questions which would have unmasked it were blocked. With this latest news, the Court

 should conclude that Defendants continue to improperly withhold basic watchlist

 information.

        Quiet Skies is a secret and massive expansion of the Government’s sprawling

 watchlist enterprise. It does not target “known or suspected terrorists,” but rather

 “unknown or partially known terrorists” – a standard with no definition, no explanation,

 no justification, and apparently no recourse. See MTC4, Ex. B (Quiet Skies program

 description). The program compiles lists of individuals the TSA wants to treat as

 suspected terrorists, but for whom the TSA lacks the “minimum derogatory information”

 necessary to support a TSDB nomination. Quiet Skies is, in short, TSA’s unregulated

 shadow watchlist.

        It appears that Quiet Skies relies upon TSDB information to make decisions that will

 affect the Plaintiffs, their families, and anyone else they ever communicate or travel with.

 See MTC4, Ex. B. Quiet Skies also generates TSDB information by collecting silly bits of

 information from sustained, indiscriminate surveillance—tasking federal air marshals

 with recording whether travelers change clothes at an airport, whether and how long the

 surveillance targets sleep on their flights, and how these travelers react when they realize

 they are being followed around. See MTC4, Ex. A (Boston Globe article) & C (TSA checklist).

 The Government then uses the watchlist information Quiet Skies generates to produce

 more TSDB nominations. See MTC4, Ex. D, TSA Depo. at 207-210. Without disclosing

 “Quiet Skies,” it appears that the TSA was referencing the program during this portion of

 its deposition:
                                               2
Case 1:16-cv-00375-AJT-JFA Document 229 Filed 08/01/18 Page 5 of 10 PageID# 7747



        Q      So there are circumstances where an individual's inclusion on a rules-
        based list identifying that individual for further screening could lead to the
        TSA's investigation of that individual for potential inclusion upon the
        watchlist?

        A       So, generally speaking, that information of the designation for a
        higher-risk passenger does not directly go to watchlist.
                However, in the course of just TSA's overall security processes,
        additional information comes in or passengers are then subsequently
        identified as -- are detecting something as they're going through screening –
        additional prohibited items or additional information or other investigation
        or other just information provided overall -- then it will go into a watchlist
        nomination process of does it meet the criteria for watchlist nomination.
                So, again, it is a -- may be a factor, but multiple pieces of information
        would need to be reviewed as well as meet the criteria for a watchlist
        nomination.


        MTC4, Ex. D, TSA Depo. at 207-210. More detailed inquiry into these “rules-based

 lists” was blocked by TSA’s counsel. See id., TSA Depo. at 211, 212, 216, 221. The Boston

 Globe’s revelation that the TSA has a systematized program for using automated rules to

 identify “Quiet Skies Selectees,” subject them to intense scrutiny, and then nominate them

 to the TSDB is significant. See MTC4, Ex. B. Quiet Skies reflects a vast expansion of the

 watchlisting system, and its existence should have been disclosed in response to many of

 the discovery requests Plaintiffs made (specified below).

        The revelation of the “Quiet Skies” program likely explains some of the more

 unnerving encounters between Plaintiffs and the Government. For example, Plaintiff El-

 Shwehdi reports that once at JFK he was “shadowed” by what appeared to be a plainclothes

 security officer. See MTC4, Ex. E, El-Shwehdi Depo. at 90-95, 186-187. The man followed

 him “with a clipboard with some paper” from “near the ticket counter,” through security,

 continuing while El-Shwehdi put back on his belt and shoes, and kept up the monitoring for

 the next “two hours” in the boarding area. Id. The plainclothes man even tailed El-Shwehdi


                                                3
Case 1:16-cv-00375-AJT-JFA Document 229 Filed 08/01/18 Page 6 of 10 PageID# 7748



 when he went to the bathroom, and when he went to get soup. Id. These detailed

 descriptions of constant monitoring by an undercover officer map precisely onto Quiet

 Skies. See MTC4 Exs. A-C. On other occasions, officers entered the plane as soon as it

 landed, singled out El-Shwehdi’s seat, and removed him in public view as the first

 passenger off the plane. MTC4, Ex. E, El-Shwehdi Depo. at 98, 156-157, 178-180, 194-196. 1

        In light of the Boston Globe’s revelations, Plaintiffs now move to compel documents

 and information and take a deposition of TSA about their secret Quiet Skies program.

 Plaintiffs seek TSA and TSC policy documents about Quiet Skies, Quiet Skies’s relationship

 to the TSDB, the TSC’s and the Watchlisting Advisory Council’s role in creating and

 maintaining the TSA’s Quiet Skies program, 2 and the use of Quiet Skies in monitoring

 Plaintiffs’ travels. The documents and information Plaintiffs seek are responsive to at least

 the following discovery requests and deposition questions:

        •   “All directives, written policies …. and/or other documents that relate or refer to
            the dissemination of any information contained in the TSDB to airlines and
            airline personnel … to screen passengers.” MTC4 Ex. G, 12/22/2017 TSC
            Responses to Second Set of RFPs No. 4.

        •   “…Any documents that describe or refer to screening and/or inspection for all
            Plaintiffs.” MTC4 Ex. H, 1/4/2018 Defendants’ Responses to Third Set of RFPs
            No. 1. 3


        1 It’s possible the “Quiet Skies” program was also behind Mark Amri’s report of being
 screened and removed from a flight by TSA agents after he had been cleared to enter the jet bridge
 – and then being subjected to intense scrutiny again hours later on the rebooked flight. See MTC4,
 Ex. F, Amri Depo. at 62-78.
        2 Plaintiffs'
                    pending Third Motion to Compel seeks the Watchlisting Advisory Council’s
 “Summaries of Conclusions.” See Dkt. 223. The Boston Globe’s unmasking of Quiet Skies highlights
 the need for those documents, particularly to the extent they refer to Quiet Skies or any other
 shadow watchlist programs.
         3 During meet and confer regarding this request last winter, Plaintiffs agreed to the

 Government’s search and production of only Defendant CBP’s TECS records regarding Plaintiffs’
 travel. That agreement was made pursuant to Plaintiffs’ contemporaneous understanding about
                                                  4
Case 1:16-cv-00375-AJT-JFA Document 229 Filed 08/01/18 Page 7 of 10 PageID# 7749



         •   “Identify all the different ways a person's watchlist status is considered in any
             way by any federal agency.” MTC4 Ex. I, 2/21/2018 TSC Responses to First Set
             of Interrogatories No. 23.

         •   “Identify all uses of TSDB information by any entity.” MTC4 Ex. J, 2/23/2018
             TSC Responses to Second Set of Interrogatories No. 1.

         •   Q: “Does the TSA maintain a single list of individuals who, through the operation
             of rules, are designated for enhanced screening, or is this a case-by-case
             automatic assignment?”
             A: “So it is not a list direct, similar to our watchlist matching.” 4 MTC4 Ex. D, TSA
             Depo. at 206-207.

         •   Q: “Does the TSA annotate any individual records in Secure Flight that post-
             checkpoint screening of that individual is required?”
             A: (instructed not to answer). MTC4 Ex. D, TSA Depo. at 183-184.

         •   Q: “Does the TSA apply any subdivisions between passengers designated for
             enhanced screening once those passengers have exited the screening area and
             are in the sterile area?”
             A: (instructed not to answer). MTC4 Ex. D, TSA Depo. at 221.

         •   Q: “Q Can you give me an example of the rules, or the sort of rules, that trigger
             enhanced screening?”
             A: (instructed not to answer). MTC4 Ex. D, TSA Depo. at 211-212.

         •   Q: “Is the country that a flight is traveling to, if it's an international flight, one
             basis for a rule that would subject passengers on that flight to enhanced
             screening?”
             A: (instructed not to answer). MTC4 Ex. D, TSA Depo. at 212.

         •   Q: “Is being a traveling companion of someone listed on the Selectee List a basis
             for being subject to enhanced screening?”
             A: (instructed not to answer). MTC4 Ex. D, TSA Depo. at 216; see also id., TSA
             Depo. at 276.




 what records existed. The Boston Globe’s revelation of the existence of Quiet Skies as a parallel or
 shadow TSA terrorist watch list supplies Plaintiffs with good cause to seek additional responsive
 records.
         4 This answer is inaccurate, given the existence of the Quiet Skies Selectee list created off of
 “intelligence driven, risk-based passenger targeting rules.” See MTC4 Ex. B.

                                                     5
Case 1:16-cv-00375-AJT-JFA Document 229 Filed 08/01/18 Page 8 of 10 PageID# 7750



        Defendants should be required to provide answers to all of the above written

 discovery requests and deposition questions, particularly as relates to Quiet Skies.

        Plaintiffs also request leave from the Court to propound additional limited discovery

 to Defendants, especially the TSA and TSC, regarding the “Quiet Skies” program. The TSA

 has already testified that “[I]nsofar as TSA has stated that this is our procedure for

 identifying passengers for a high-risk standard screening … the TSC would know that we do

 have these procedures in place.” MTC4 Ex. D, TSA Depo. at 213-214. Plaintiffs would use

 additional discovery to seek official policy documents and information about the “Quiet

 Skies” program, its relationship to the TSDB, its oversight by the TSC and Watchlisting

 Advisory Council, and its use in monitoring Plaintiffs’ travels. Plaintiffs specifically request

 five requests for production, five interrogatories, a deposition of the TSA related to Quiet

 Skies, and a deposition of the TSC related to it and the Watchlisting Advisory Council’s

 knowledge, oversight, and dissemination of Quiet Skies information.

                                         CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request the Court GRANT their

 Fourth Motion to Compel, ORDER Defendants to provide Quiet Skies documents and

 information in response to Plaintiffs’ prior discovery requests and deposition questions,

 GRANT leave to issue limited written discovery requests to Defendants regarding the Quiet

 Skies program, and GRANT Plaintiffs’ requests for depositions of the TSA and TSC regarding

 Quiet Skies.

                                                    Respectfully submitted,

                                                    COUNCIL ON AMERICAN-ISLAMIC
                                                    RELATIONS

                                                    BY:     /s/ Gadeir Abbas

                                                6
Case 1:16-cv-00375-AJT-JFA Document 229 Filed 08/01/18 Page 9 of 10 PageID# 7751



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 Dated: August 1, 2018




                                       7
Case 1:16-cv-00375-AJT-JFA Document 229 Filed 08/01/18 Page 10 of 10 PageID# 7752



                                  CERTIFICATE OF SERVICE


         I hereby certify that on August 1, 2018, I electronically filed the foregoing by using

  the Court’s ECF system. I further certify that all participants in the case are registered ECF

  users and will be electronically served by the Court’s ECF notification system.

                                                    Respectfully submitted,

                                                    COUNCIL ON AMERICAN-ISLAMIC
                                                    RELATIONS

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                                                8
